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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                               UNITED STATES DISTRICT COURT
     5/23/2022                                            for the
         DTA
                                                                                                    05/23/2022
                                               Central District of California

 United States of America

                 v.
                                                                    Case No. PM'87<
 EVAN BALTIERRA,

                 Defendant.


                            CRIMINAL COMPLAINT BY TELEPHONE
                           OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 2020, in the county of Orange in the Central District of California, the

defendant(s) violated:

           Code Section                                             Offense Description

           18 U.S.C. § 2261A(2)(A), (B)                             Stalking

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                                           /s/
                                                                                  Complainant’s signature

                                                                         Steven C. Wrathall, Special Agent, FBI
                                                                                   Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
                                                                                             telephon

 Date:                May 23, 2022
                                                                                      Judge’s signatur
                                                                                              signature
                                                                                                     re

 City and state: Santa Ana, California                                 Hon. John D. Early, U.S. Magistrate Judge
                                                                                   Printed name and title



AUSA:                  Jake Nare (ext. 3549)
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                                  AFFIDAVIT

        I, Steven C. Wrathall, being duly sworn, declare and state

as follows:

                             I.    INTRODUCTION

        1.   I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since February

2009.    I am responsible for investigating violent crimes,

including interstate threats, as well as murder for hire,

extortion, crimes against children, and kidnappings within the

FBI Los Angeles division territory.       I also completed 21 weeks

of training at the FBI Academy at Quantico, Virginia, where I

received formal training in criminal investigative techniques.

        2.   During the course of my employment with the FBI, I

have employed, or been involved in investigations that employed,

various investigative techniques, including search warrants,

court-authorized interception of wire, oral, and electronic

communications, pen registers/trap and trace, telephone toll

analysis, physical surveillance, confidential sources,

cooperating witnesses, grand jury proceedings, and fugitive

apprehension tools.    Through my training, experience, and

interaction with other law enforcement officers, I am familiar

with the methods employed by those who engage in cyber stalking

or make criminal threats over the internet.

                       II.    PURPOSE OF AFFIDAVIT

        3.   This affidavit is made in support of a criminal

complaint and arrest warrant against EVAN BALTIERRA



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(“BALTIERRA”) for a violation of 18 U.S.C. § 2261A(2)(A), (B)

(Stalking).

     4.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                    III. SUMMARY OF PROBABLE CAUSE

     5.      Since approximately July 2020, Victim 1 and Victim 1’s

friends, boyfriend, and boyfriend’s family have been the target

of a harassment campaign believed to be orchestrated by

BALTIERRA.    BALTIERRA was an online moderator for Victim 1 — a

prominent professional online gamer in the World of Warcraft

community who resides in Calgary, Alberta, Canada.         In November

2019, Victim 1 travelled to Anaheim, California for “Blizzcon,”

an annual gaming convention that focuses on several video game

franchises, such as World of Warcraft.       There, she held a meet

and greet with fans at the Anaheim Convention Center Hilton in

Anaheim, California.    BALTIERRA attended this meet and greet and

met Victim 1 in person there for the first time.         After this

event, Victim 1 noticed a change in BALTIERRA’s behavior.

BALTIERRA asked to be Victim 1’s “valentine” in February of

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2020, and Victim 1 told him she had a boyfriend.         BALTIERRA then

expressed to Victim 1 a desire to travel to Calgary to try and

visit her, to which Victim 1 declined.

     6.     After this event, BALTIERRA’s behavior made Victim 1

increasingly uncomfortable, and she decided to remove him as

moderator of her stream channel and block him from her social

media.    BALTIERRA, who resides in the Orange County, California

area, has contacted Victim 1 via direct message on various

platforms to include Twitter, Instagram, Discord, Twitch, and

Reddit.   He has also sent emails directly to Victim 1 using a

Gmail account.   He has contacted Victim 1’s boyfriend, J.S., and

colleague/friend, G.L., via the same online platforms.          Many of

these messages contained threats of violence toward Victim 1.

BALTIERRA further created fictitious online profiles that

displayed photographs of Victim 1, including pornographic

photographs where it appears that BALTIERRA photoshopped Victim

1’s face onto the photograph.      BALTIERRA then sent the

photoshopped pictures to VICTIM 1’s friends and family and

regularly posted the photographed pictures on various internet

chat rooms.

                      IV.   RELEVANT DEFINITIONS

     7.     Based upon my training, experience, and research, I

know the following:

            a.   The Internet is a collection of computers and

computer networks which are connected to one another via high-

speed data links and telephone lines for the purpose of

communicating and sharing data and information.         Connections

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between Internet computers exist across state and international

borders; therefore, information sent between two computers

connected to the Internet frequently crosses state and

international borders even when the two computers are located in

the same state.

             b.   Individuals and businesses obtain access to the

Internet through businesses known as Internet Service Providers

(“ISPs”).    ISPs provide their customers with access to the

Internet using telephone or other telecommunications lines;

provide Internet email accounts that allow users to communicate

with other Internet users by sending and receiving electronic

messages through the ISPs’ servers; remotely store electronic

files on their customers’ behalf; and may provide other services

unique to each particular ISP.      ISPs maintain records pertaining

to the individuals or businesses that have subscriber accounts

with them.    Those records often include identifying and billing

information, account access information in the form of log

files, email transaction information, posting information,

account application information, and other information both in

computer data and written record format.

             c.   An Internet Protocol address (“IP address”) is a

unique numeric address used by each computer on the Internet.

An IP address is a series of four numbers, each in the range 0-

255, separated by periods (e.g., 121.56.97.178).         Every computer

attached to the Internet must be assigned an IP address so that

Internet traffic sent from and directed to that computer may be



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properly directed from its source to its destination.          Most ISPs

control a range of IP addresses.

           d.   When a customer logs into the Internet using the

service of an ISP, the computer used by the customer is assigned

an IP address by the ISP.     The customer’s computer retains that

IP address for the duration of that session (i.e., until the

user disconnects), and the IP address cannot be assigned to

another user during that period.

           e.   Email, also known as “electronic mail,” is a

popular means of transmitting messages and/or files in an

electronic environment between computer users.         When an

individual computer user sends an email, it is initiated at the

user’s computer, transmitted to the subscriber’s email server,

and then transmitted to its final destination.         A server is a

computer that is attached to a dedicated network and serves many

users.   An email server may allow users to post and read

messages and to communicate via electronic means.

           f.   Every email comes with a header which is one part

of an email structure.     It has basic information such as from

whom the email comes, to whom it is addressed, the date/time it

was sent, and the subject of the email.       This basic information

comes in all “basic headers” that most email programs will

automatically show.    However, there is other detailed technical

information that an email has.      This detailed technical

information can be viewed in a “full header.”        A full header

will have information such as the mail server’s name that the

email passed through on its way to the recipient, the sender’s

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IP address, and even the name of the email program and the

version used.   This information cannot be found in a brief

header.   A full header is crucial for cases involving email

abuse, worm-infected email, harassment and forgeries.

           g.   A website consists of textual pages of

information and associated graphic images.        The textual

information is stored in a specific format known as Hyper-Text

Mark-Up Language and is transmitted from the web servers to

various web clients via Hyper-Text Transport Protocol.

                  V.    STATEMENT OF PROBABLE CAUSE

A.   Information Provided by Victim 1

     8.    Based on my discussions with Victim 1, my review of

multiple e-mails from Victim 1 detailing the harassment, and my

review of other relevant documents, I know the following:

           a.   Victim 1 was a prominent female gamer and online

“streamer” in the World of Warcraft (“WoW”) online community.

Her online handle was “Nalipls,” which she used on multiple

platforms of social media.     WoW is a video game that was

released by Blizzard Entertainment in 2004 and attracts millions

of online players.     Victim 1 made money by playing video games

online and live streaming this content.       Victim 1 became so

prominent in the WoW community that playing video games became

her sole source of income.

           b.   In approximately November 2019, Victim 1

travelled from Calgary, Alberta, Canada to Anaheim, California,

to attend “Blizzcon.”    “Blizzcon” is a large convention put on

annually by Blizzard Entertainment, which is headquartered in

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Irvine, California.    In 2019, it was estimated that

approximately 40,000 people attended the event.         During the

event, Victim 1 hosted a “meet and greet” at the Anaheim

Convention Center Hilton.     One of Victim 1’s online streamers

and chat room moderators, Evan BALTIERRA, attended this event to

meet her in person for the first time.       At the time of the

event, Victim 1 only knew BALTIERRA as “Evanb49” or “Propáin”

based on his online gaming handles and social media profile

names. 1

             c.   After meeting BALTIERRA in person, Victim 1

noticed that he began donating large sums of money to her stream

and would continue to post messages in her group chat until she

recognized his presence.     In approximately February 2020,

BALTIERRA asked Victim 1 through social media if she would be

his “valentine.”    Victim 1 politely declined and said she had a

boyfriend.    Following this, BALTIERRA continued to make comments

in online group chats about going to see Victim 1 in Calgary.

             d.   On or about June 29, 2020, Victim 1 received a

message from an online friend who told her that BALTIERRA was

trying to find out where Victim 1 lived because he wanted to go

visit her.    Victim 1 told BALTIERRA via a Discord chat messages




     1 During my investigation, I located a current Instagram
account with the vanity name of “evanb49.” The account contains
a profile photograph that, based on BALTIERRA’s California DMV
photograph, appears to be of BALTIERRA.


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that she had a boyfriend, she was uncomfortable with him, and

she did not want to meet up with anyone outside of a convention. 2

            e.   Due to BALTIERRA continuing to make her

uncomfortable, in approximately July 2020, Victim 1 removed

BALTIERRA as a chat moderator, banned him from her live video

stream, and blocked him from contacting her.        As soon as this

occurred, Victim 1 began receiving targeted harassment across a

variety of online platforms in the form of messages, including

veiled threats, photoshopped pornographic images with her face

on them, attempts to obtain her address, and unsolicited mail

packages.

            f.   From approximately July 2020 until present day,

Victim 1 estimated that she has been harassed by more than one

hundred different Twitter accounts and approximately ten to

twenty different Gmail accounts.        Victim 1 believes all of them

to be used by BALTIERRA.     According to Victim 1, the harassment

only started once she banned and blocked BALTIERRA from her

online gaming community after he made her uncomfortable.

B.   Victim 1 Obtains a Temporary Restraining Order Against
     BALTIERRA

     9.     On or about February 5, 2021, Victim 1 obtained a

Temporary Restraining Order against BALTIERRA in Orange County

Superior Court (Case number 30-2021-01182973-CU-HR-CJC), pending

a hearing for a Civil Harassment Restraining Order.

     2 Discord is a Voice over Internet Protocol, instant
messaging and digital distribution platform. Discord users
communicate with voice calls, video calls, text messaging, media
and files in private chats or as part of communities called
“servers.”


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      10.    On or about March 3, 2021, BALTIERRA was served a copy

of the restraining order at his residence located at 20762

Shadow Rock Lane, Trabuco Canyon, California 92679 (“20762

Shadow Rock”).

      11.    On or about April 30, 2021, Victim 1 and BALTIERRA

reached and signed a civil agreement in lieu of Victim 1

proceeding with the civil harassment restraining order.           The

agreement stated the following (among other things):

             a.   BALTIERRA would pay Victim 1 the sum of $2,000

through BALTIERRA’s attorney.

             b.   BALTIERRA understood that he was subject to the

laws of California, the United States, and Canada.          By signing,

he acknowledged that should he act in any unlawful conduct,

including, but not limited to, criminal threats or criminal

harassment against Victim 1, that he would be subject to arrest

and criminal prosecution.

             c.   BALTIERRA was prohibited from contacting Victim 1

directly, or indirectly, in any form, whether by phone or by

written, digital, or online means.

             d.   BALTIERRA agreed to never contact any persons

reasonably believed to be a member of Victim 1’s online

community.

             e.   BALTIERRA agreed to never make any disparaging

comments about Victim 1 online, in any form, which included all

social media, streaming channels, and online chat programs.

             f.   BALTIERRA agreed to never create or share any

images which appeared in any way to depict Victim 1 in the nude,


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nor any pictures which appeared in any way to depict Victim 1 in

a sexual context.

            g.    BALTIERRA agreed to never create any screen names

or online accounts to disguise his identity so that he could

interact with Victim 1 or those who followed or participated in

Victim 1’s online streaming channels and social media accounts.

      12.   As part of the settlement, Victim 1 provided certain

identifiable information for court documents and to BALTIERRA’s

attorney.   Specifically, Victim 1 provided the email address

cosplaynali@gmail.com and a P.O. Box (P.O. Box 35066 Sarcee,

Calgary, AB T3E7C7) that she previously used, but had not used

since 2017 because the building where the P.O. Box was located

burned down.     According to Victim 1, she provided this address

because she was afraid of BALTIERRA discovering her real

address.

      13.   On or about May 23, 2021, Victim 1 started receiving

voluminous amounts of spam email to her email address

cosplaynail@gmail.com, to include signups to multiple

pornographic sites, an email confirmation of an “OnlyFans” 3

account that was created with her photographs, and responses to

a Craigslist advertisement for sex in which her photoshopped

nude photographs were posted.       This was the first time this had

happened to her, and it occurred less than a month after

BALTIERRA learned of this email address.

      3OnlyFans is an internet content subscription service that
allows content creators to earn money from user who subscribe to
their content. OnlyFans is popular with sex workers and is
commonly associated with pornography.


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      14.   On or about June 10, 2021, Victim 1 received a direct

message from one of her online community members,

“@gamemaster6969.”     “@gamemaster6969” indicated that the Twitter

handle “@animecrusherr” had sent him/her a direct message asking

if they wanted personal information about Victim 1.          When

“gamemaster6969” inquired further, “@animecrusherr” sent Victim

1’s full name, P.O. Box address, and email address.          This was

the first time that her fully identifiable information had

appeared on Twitter, less than two months after BALTIERRA

learned of her last name and alleged mailing address.

Subsequently, on or about December 18, 2021, the Twitter account

“@f150oo” posted Victim 1’s full name and P.O. Box address

publicly on Twitter.

            a.   In and around January of 2022, G.L., a colleague

and friend of Victim 1 who was also active in the WoW community,

discovered photoshopped nude images of Victim 1 on a website

titled www.cumonprintedpics.com and reached out to the website’s

administrator.    The Twitter handle “@cumtributelayla,” responded

and told G.L. that he/she would only communicate with VICTIM 1

since the images depicted her.       After Victim 1 verified who she

was with the website, on or about February 18, 2022,

“@cumtributelayla” sent VICTIM 1 a direct message on Twitter

that provided some metadata associated with Victim 1’s

photographs posted on the website.        “@cumtributelayla” provided

Victim 1 with an email of baltierra5@yahoo.com.          Victim 1 knew

baltierra5@yahoo.com belonged to BALTIERRA because that was the

email address she knew to be associated with his PayPal account.


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            b.     As BALTIERRA’s harassment continued, his messages

to her evolved into threats.       On or about March 5, 2022, VICTIM

1 received a direct message from Twitter account @maxxieRu that

read as follows:     “This is addressed as a general message to

everyone that Nalipls (Victim 1) . . . have interacted with or

know.   You all want to try and ignore things but a day will come

where Nali wishes she would have done something.          She will be

directly responsible for friends, family and other close ones to

get affected in a very bad way.       They wanted to involve friends

and family?      Well others can play that game as well.      You all

want to make a joke out of things and act like the situation

won’t end badly for Nali.      You know who the most dangerous

people are in the world?      The ones who don’t care what they lose

to achieve their goal.      Nali will come to an end and after years

of planning / waiting for the right opportunity you will all say

“damn something actually did happen” and maybe you shouldn’t

have been so sassy.     Might want to pass this on to Nali and

Borngood.   I’m sure you can reach them somehow because it won’t

be just them affected anymore.”       I know from my investigation

and conversation with Victim 1 that “Borngood” is Victim 1’s

boyfriend, J.S.’s, online screen name.

            c.     On the same date, on or about March 5, 2022,

Victim 1 received threatening messages from a Twitter user using

the account name “@naliplswhore” that read “don’t worry he won’t

have Nali around forever,” “time is counting down for you,” and

“Nalipls is not going to be around forever :)”




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           d.     On or about March 7, 2022, Victim 1 received a

direct message from the Twitter user @naliplswhore that read,

“Hired people to I’ll come and you get bitch.”

           e.     On or about March 13, 2022, Victim 1 received an

email from warzo566@gmail.com at her cosplaynali@gmail.com

account that read, “Think about who’s still out here and freely

roam around.    One day things are going to come crashing down for

Nali and everything that she loves.        Think that it will just

drop that easily?     Might want to check some mail soon as well.

[Victim 1] will be hunted down no matter how long it takes.            And

everytime that slut shows up online her naked pictures and info

gets spread even more and everyone she interacts with gets

messed with also.”     Two other email addresses were listed in the

“to” line of the email, pvpzix@gmail.com (another account of

Victim 1 associated with her PayPal) and jsap006@gmail.com

(J.S.’s email address).

           f.     On or about March 15, 2022, two days after the

email about receiving mail, Victim 1 received a call from her

local post office and was told that someone had sent her a

package, but it contained an incorrect shipping address with her

name.   Victim 1 was told that the shipping address listed on the

package was the old P.O. Box that Victim 1 had only used for the

court documents in the Civil Harassment Restraining Order filed

against BALTIERRA.     Victim 1 alerted the Calgary Police, who

inspected the package and determined that the content of the

package was a box of “KY Me & You” condoms that had been sent

through Amazon.


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C.    Conversations and Information Received from Constable

      Corinne Murray, Calgary Police

      15.   Based on my discussions with Constable (“Cst.”)

Corinne Murray, Calgary Police, my review of multiple e-mails

from Cst. Murray detailing the harassment, and my review of

other relevant documents, I know the following:

            a.   Calgary Police has been investigating the

harassment of Victim 1 since approximately 2020 and has filed

charges on 19 counts of various criminal charges in Canada with

warrants being issued for BALTIERRA.        The nature of these

charges is “criminal stalking” and “non-consensual distribution

of intimate images and videos,” among others.

            b.   On or about June 7, 2021, an individual, believed

to be BALTIERRA, made a telephone call to the Calgary Police

Department’s non-emergency line of (403) 266-1234.          The caller

referred to himself as “Austin” and requested that Calgary

Police conduct a welfare check on Victim 1.         “Austin” said that

there were some disturbing posts on Victim 1’s Facebook account

and he was concerned for her safety.        During the call, “Austin”

tried to get dispatch to give him the address of Victim 1 and

also requested that the responding officer give him a call.

During the call, “Austin” referred to himself as a “former

police officer.” 4   Calgary Police refused to give “Austin” the



      4I know from my investigation that BALTIERRA was employed
briefly as a police officer with Los Angeles World Airport
Police, but did not complete his probationary period and
resigned.


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address and when they contacted Victim 1, they learned that she

was fine and had not posted anything on her Facebook account.

             c.   Cst. Murray requested toll records and account

information for the suspicious telephone call that originated

from (949) 750-0109.     On or about June 13, 2021, pursuant to a

subpoena, AT&T provided tolls and subscriber information for

(949) 750-0109.     The telephone account listed the registered

user as BALTIERRA and the billing address as his residence

located at 20762 Shadow Rock Lane.

             d.   Cst. Murray reviewed BALTIERRA’s toll information

for (949) 750-0109, which showed BALTIERRA contacted the Calgary

based telephone number (403) 813-8645 on or about June 7 and

June 8, 2021.     Further investigation revealed that telephone

number (403) 813-8645 belonged to a private investigator in the

Calgary area.     Cst. Murray contacted the private investigator

via the phone number (403) 813-8645 and was told by the private

investigator that BALTIERRA attempted to hire the investigator

to find out Victim 1’s home address.        The investigator declined

the job and told BALTIERRA that he would need an attorney to

request the information.

D.    Information Received from Blizzard Entertainment

      16.    On or about February 24, 2022, I received information

from Blizzard Entertainment.       Based on the information I

reviewed, I know the following:

             a.   On or about August 5, 2020, Victim 1 contacted

Blizzard about an issue of ongoing harassment from another

player.     After researching the issue, Blizzard determined that


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the harassment came from the account using “Battle.net ID

51087712,” which was associated to BALTIERRA, and suspended the

player’s WoW account.

            b.    On or about August 8, 2020, Victim 1 contacted

Blizzard and reported harassment from the player’s alternate

account.    Blizzard was able to verify the issue and applied a

72-hour suspension to the alternate account (Battle.net ID

395473442) and a 216-hour suspension to the main account.

Blizzard determined that the account was used by BALTIERRA

through player registration and IP information.

            c.    On or about September 10, 2020, Blizzard received

a harassment report through Twitter regarding the same accounts.

Both accounts were being accessed by the same IP address and the

reported player admitted to using an alternate character to

bypass the “ignore” setting.       Both accounts also shared similar

contact information.     Blizzard suspended both WoW accounts for

48 days and issued a final warning.

            d.    On or about December 13, 2020, Victim 1 contacted

Blizzard about the continuing harassment by both of BALTIERRA’s

accounts.   Blizzard permanently closed both WoW accounts.          The

nature of the ongoing harassment was continued spamming of

direct messages to Victim 1 and repeated invitations to her to

join groups.     According to the complaint, the frequency of the

messages was so high that it made it impossible for Victim 1 to

play the game, which affected her ability to make money through

playing WoW, which was her main source of income at the time.




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              e.   On or about December 30, 2020, BALTIERRA

contacted Blizzard to appeal the permanent bans on both

accounts, but the actions were upheld.

              f.   The contact information for the banned player

provided by Blizzard was “Evan BALTIERRA” at 20762 Shadow Rock

Lane.

E.      Conversations and Information Received from G.L.

        17.   Based on my discussions with G.L., my review of

multiple e-mails from G.L. detailing the harassment, and my

review of other relevant documents, I know the following:

              a.   G.L. and Victim 1 know each other from the online

WoW community and have known each other since approximately

2016.    G.L. and Victim 1 first met at the 2018 “Blizzcon” in

Anaheim, California.     G.L. is currently contracted with Blizzard

as an “Esports Content Creator” and also acts in a sideline

reporter and host capacity for Blizzard.

              b.   BALTIERRA has sent G.L. direct messages on social

media platforms since approximately January 2021 and harassed

her over email since approximately November 2021.          G.L. has also

received the photoshopped nude photographs of Victim 1 in her

direct messages and on her Twitter feed as replies from various

Twitter handles, all believed to be BALTIERRA.          G.L. believes

BALTIERRA is targeting her because she is Victim 1’s friend and

has spoken up on Twitter about BALTIERRA and how he has been

stalking Victim 1.




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           c.    G.L. filed a police report with the Columbus

Police Department in Columbus, Ohio, about the harassment and

threats coming from BALTIERRA.

           d.    On or about January 25, 2022, G.L. received an

email from snapcrackk@gmail.com that read, “People see

everything G.L. and you guys keep pushing it and pushing it.

Wasn’t going to message again but have to confront this.           Look

at your messages that’s attached to this email, do you really

think that no one cares?      And then you laugh about it.       Then you

proceed to say ‘he’s not a threat or dangerous’ do you truly

believe that?    With someone that has combat deployments and

other training. 5   Then you like a post that you had to actually

dig for because it’s hidden by twitter behind show more replies

then ‘show content that may be offensive’         These are the type of

things that’s going to cause people to get hurt because no one

thinks something is actually going to happen and it’s just going

to remain ‘online.’     It’s not just you either, it’s also [Victim

1] and others that are going to cause something major to happen.

There’s already a plan to dela with [Victim 1].          You might want

to bring this up with her.      We already had our discussion and

you didn’t want to talk anymore but if you feel like reaching

out to try and calm the situation down a bit or explain things.

You know where to reach me.”




      5I know from my investigation that BALTIERRA was formerly a
Marine with at least one combat deployment, before he became a
police officer.


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            e.   G.L. explained that the threats that BALTIERRA

makes are toward the WoW community as a whole, while blaming

Victim 1, and she is concerned that BALTIERRA will commit some

act of mass violence at a WoW gathering or event.

F.    Information Received from J.S.

      18.   Based on my discussions with Victim 1 about J.S. and

his mother, my review of multiple e-mails from Victim 1

detailing the harassment of J.S. and his mother, and my review

of other relevant documents, I know the following:

            a.   J.S. is Victim 1’s boyfriend.       Victim 1 began

dating J.S. before the harassment and stalking began.           J.S.

believes that BALTIERRA has targeted J.S. simply because he is

dating Victim 1.

            b.   From the time period of on or about March 7, 2022

to March 9, 2022, J.S. received multiple text messages of

photoshopped nude photographs with Victim 1’s head on them from

telephone number (714) 406-4893.

            c.   On or about March 11, 2022, I used publicly

available databases to determine that telephone number (714)

406-4893 was an active voice over internet protocol (VOIP)

number operated by Bandwidth.com.        I know from my training and

experience that people will sometimes use VOIP numbers to mask

their true identity and true telephone numbers.

            d.   On or about March 9, 2022, J.S. received an email

from lambbee7@gmail.com, an account previously used to harass

Victim 1, that read, “Amazing what money can do when you have a

lot of it and can freely spend it how you want without breaking


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the bank.   People will be hired and if it’s not from who you

expect then those people will do the job of taking care of

Victim 1 and her inner circle.       Or sometimes if you want things

done right you have to do it yourself.        Victim 1 will never

truly be free of her situation and all her friends are just as

big of a target.”

            e.    On or about March 10, 2022, J.S. received another

email from lambbee7@gmail.com that read, “Very much enjoy how an

online community thinks that they have any power to actually

stop something from happening face to face.         They want to

support [Victim 1] and try to defend her but they spit the hate

right back lol.    This will all be over once that stupid slut is

gone and she will be there’s no doubt about that.          She’s such a

big target.”     Attached to the email were two photoshopped nude

images with Victim 1’s head on them.

            f.    On or about March 10, 2022, J.S.’s mother

received an email from lambbee7@gmail.com containing the same

two photoshopped nude images with Victim 1’s head on them that

were sent to J.S.

G.    Victim Impact

      19.   I have spoken with Victim 1 on multiple occasions

regarding the events discussed above.        During those

conversations, Victim 1 told me that she felt unsafe as a result

of BALTIERRA’s actions.      Victim 1 stated that she was feeling a

great deal of anxiety about the extent of BALTIERRA’s knowledge

and exploitation of her personal life and she was fearful of

what further actions BALTIERRA might take against her.


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Furthermore, because of BALTIERRA’s actions, Victim 1 has

removed herself as much as possible from online activities,

which was her primary source of income, and BALTIERRA’s actions

have therefore caused a financial strain on her.

      20.    When speaking with G.L., she stated that she feels

unsafe and is worried about the escalation that BALTIERRA has

shown in his messages and emails.        G.L. stated that Blizzard

hired an extra security person for her at Blizzard events and

BALTIERRA’s photograph was posted at the event as someone who is

a threat.    These measures have been taken as a direct result of

BALTIERRA’s behavior and actions toward G.L.

H.    Search Warrant Executed at BALTIERRA’S Residence

      21.    On or about March 22, 2022, the Honorable Autumn D.

Spaeth, U.S. Magistrate Judge, issued search warrants for

BALTIERRA’s person and his residence located at 20762 Shadow

Rock Lane.    The FBI executed the search warrants on that same

date and seized multiple digital devices pursuant to the

warrant, including, but not limited to, BALTIERRA’s iPhone,

desktop computer, and multiple thumb drives.         A 9mm handgun was

also seized.    During the execution of the warrant, BALTIERRA was

interviewed by Special Agents Steven Wrathall and Tyler Call.

During the interview, BALTIERRA admitted to harassing Victim 1

online, to include, among other things, paying someone to create

photoshopped nude images of her and then sending these

photographs out to friends and family and sending threatening

messages to Victim 1.




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        22.   On or about March 23, 2022 through May 23, 2022, I

reviewed the digital devices seized during the search warrant

and learned the following:

              a.   On one of the thumb drives seized from

BALTIERRA’s residence, I located many photoshopped nude images

with Victim 1’s face on it.

              b.   I performed a Cellebrite extraction on

BALTIERRA’s iPhone and located the following:

                   i.    Evidence of the following accounts being

present on the device: evanb49@yahoo.com, baltierra5@yahoo.com,

lambee7@gmail.com, snapcrackk@gmail.com, warzo566@gmail.com,

@naliplswhore, and @maxxieru;

                   ii.   Many photoshopped nude images with Victim

1’s face on them;

                   iii. Non pornographic images of Victim 1 and

G.L.;

                   iv.   A WhatsApp conversation between BALTIERRA

and another user in which BALTIERRA paid to have the

photoshopped nude images of Victim 1 created and supplied the

photographs of Victim 1;

                   v.    Internet search history that included the

following searched terms: “cumonprintedpics,” “nalipls nude

reddit,” “how many stamps do I need for a letter to Canada,”

“fake Instagram accounts,” “order something in Calgary Canada to

get sent to po box,” “can you mail an envelope without a return

address,” “how long before Instagram removes a catfish,” “how to

hide number,” “how to address a envelope to Canada,” “nalipls

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cosplay,” “cumonprintedpics nalipls,” “mailing someone naked

photos,” “will a civil case show up on a background check if it

was settled outside of court”, “crossing border to Canada with

someone in trunk,” “nalipls nude cum,” “can a warrant stop you

from getting a passport,” “shooting range near me,” and “death

during sex porn.”

            VI.   TRAINING AND EXPERIENCE ON ONLINE HARASSMENT

      23.     Based on my training and experience and my

consultation with other agents, I know that online personalities

and their families are at high risk of being targeted by

disgruntled fans and other online personas.         As a result, I know

that online personalities do not generally make their private

information publicly available and that they take targeted

measures to keep that information private.         For instance, online

personalities typically use screen names and avoid using their

real names or contact information in order to make themselves

less susceptible to becoming targets of stalking or harassment

schemes.

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                             VII. CONCLUSION
      24.   For all the reasons described above, there is probable

cause to believe that BALTIERRA has committed a violation 18

U.S.C. § 2261A(2)(A), (B): Stalking.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                  23rd day of May,
2022.
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